
45 So.3d 972 (2010)
UNITED AUTOMOBILE INSURANCE COMPANY, Petitioner,
v.
OCEAN HEALTH, INC., a/a/o Eugene Satberry, Respondent.
No. 3D10-467.
District Court of Appeal of Florida, Third District.
October 13, 2010.
Thomas L. Hunker, General Counsel, for petitioner.
Lopez &amp; Best and Virginia Best, for respondent.
Before SHEPHERD, CORTIÑAS, and LAGOA, JJ.
PER CURIAM.
This is a petition for second-tier certiorari in a case involving Personal Injury Protection benefits. We grant the petition and quash the order under review on the authority of United Automobile Insurance Co. v. Santa Fe Medical Center, 21 So.3d 60 (Fla. 3d DCA 2009) (en banc), petition for review pending, No. SC09-2100, proceedings stayed (Fla. Jan. 5, 2010).
Petition granted; order quashed; case remanded for further proceedings.
